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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

Felipe Vivar;
CIVIL ACTION NO. 18-cv-6

Plaintiff
VS.
New York City Police Department et al;

Defendant

 

 

PLAINTIFF’s DECLARATION IN OPPOSITION TO
DEFENDANT’S MOTION TO DISMISS

 
  
  

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Defendant Self-Help’s June 17, 2019 motion to dismiss should be denied
for the same reasons outlined in my June 6, 2019 opposition and the
doctrine of respondeat superior.

 

 
